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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

  UNITED STATES OF AMERICA                  :
                                            :
  v.                                        :       Case No. 8:11-CR-622-T-33TBM
                                            :
  SCOTT MATTHEW ARCISZEWSKI                 :

                              SATISFACTION OF JUDGMENT

         The special assessment and restitution imposed upon Defendant Scott

  Matthew Arciszewski by the criminal judgment filed herein on April 19, 2012, in the

  above-entitled cause has been paid. The Clerk of the United States District Court for

  the Middle District of Florida is hereby authorized and empowered to record this

  satisfaction of judgment as it pertains to the special assessment and criminal

  restitution ordered in this case.

                                             Respectfully submitted,

                                             A. LEE BENTLEY, III
                                             United States Attorney


                                      By:    s/Suzanne C. Nebesky_______
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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on December 29, 2014, I electronically filed the

   foregoing with the Clerk of Court by using the CM/ECF system, and I mailed the

   foregoing document and the notice of electronic filing by first-class mail to the

   following non-CM/ECF participants:


              Scott Matthew Arciszewski
              Orlando, FL 32825




                                            s/Suzanne C. Nebesky_______
                                            Assistant United States Attorney




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